       Case 2:20-cv-00200-WJ-CG Document 64 Filed 11/06/20 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

KENNETH LUMAN, et al.,
          Plaintiffs,
v.                                                       CV No. 20-200 WJ/CG

BALBACH TRANSPORT, INC., et al.,
           Defendants,
__________________________

LUIS TREJO, et al.,
           Third-Party Plaintiffs,
v.

KENNETH LUMAN, et al.,
           Third-Party Defendants,
__________________________

BALBACH TRANSPORT, INC.,
          Counterclaimant,
v.

KENNETH LUMAN, et al.,
           Counter-Defendants,
__________________________

LUIS TREJO,
           Third-party Plaintiff,
v.

KENNETH LUMAN, et al.,
           Third-party Defendants,
__________________________

LUIS TREJO,
           Counterclaimant,
v.

GREENWOOD MOTOR LINES, INC., et al.,
        Counter-Defendants.

                      ORDER SETTING EXPEDITED BRIEFING

      THIS MATTER is before the Court on Defendants’ Notice of Objections and
       Case 2:20-cv-00200-WJ-CG Document 64 Filed 11/06/20 Page 2 of 2




Motion to Quash Plaintiff's Subpoena to T-Mobile USA Inc., Served on October 23,

2020 (the “Motion”), (Doc. 62), filed November 5, 2020. Plaintiffs may file a response to

the Motion no later than Thursday, November 12, 2020. Defendants Luis Trejo and

Balbach Transport, Inc. may file a reply in support of their Motion no later than Monday,

November 16, 2020.

      IT IS SO ORDERED.


                                  ______________________________
                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE




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